 

7 Nee ee
Case 1:17-cv-02041-RJL Document 74 Filed 01/09/20 Page1of3

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA F I L - D
xX
MIKHAIL FRIDMAN, PETR AVEN, | JAN - 9 2020
and GERMAN KHAN, , Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
Plaintiffs,
-V- : Case 1:17-CV-02041 (RJL)
BEAN LLC (A/K/A FUSION GPS) and
GLENN SIMPSON,
Defendants.

Xx

 

CONSENT ORDER MODIFYING THE SCHEDULING ORDER
WHEREAS, Pursuant to Fed. R. Civ. P. 16 and Local Civil Rule 16.4, the Parties filed a

joint motion to modify the Scheduling Order entered in this proceeding;

 

WHEREAS the Parties filed an Amended Joint Case Management Report on September
4, 2019 (Dkt. 64).

WHEREAS the Amended Joint Case Management Report proposed, in relevant part, the
following discovery schedule:

The parties shall complete document production by January 6, 2020.
The parties shall serve requests for admission by February 21, 2020.
Fact discovery shall close on November 13, 2020.

The parties shall exchange expert reports by December 21, 2020. .
The parties shall complete expert depositions by February 5, 2021.
Motions for summary judgment due on March 19, 2021.

Opposition to summary judgment motions due on April 23, 2021.
Replies on summary judgment motions due on May 14, 2021.

WHEREAS the Court adopted the Parties’ proposed discovery deadlines in its September

11, 2019 Scheduling Order (Dkt. 65), including the deadlines for service of initial document

 

 

 
 

|
Case 1:17-cv-02041-RJL Document 74 Filed 01/09/20 Page 2 of 3

requests and interrogatories and answers to interrogatories and written responses and objections
to document requests.

WHEREAS, the Parties agreed to serve initial document requests and interrogatories by
October 11, 2019, and answers and objections to interrogatories and written responses and
objections to initial document requests within thirty (30) days of service (i.e., by November 11,
2019); the Parties filed a Consent Order to Modify the Scheduling Order (Dkt. 68); and the
Court, in a Minute Order dated November 5, 2019, modified the Scheduling Order accordingly;

WHEREAS the Parties served extensive document requests and interrogatories in

 

October 2019, and responses and objections thereto in November 2019, in accordance with the
modified Scheduling Order;

WHEREAS the initial Scheduling Order provides for the Parties’ completion of
document production on January 6, 2020, however the Parties have conferred in good faith and
agree that an additional three months will be required for the Parties to confer regarding their
respective objections and responses and to complete the Parties’ document production;

WHEREAS the Parties expect that there will be significant non-party discovery,
including witnesses and documents overseas, as indicated in the Parties Amended Joint Case
Management Report (Dkt. 64), and, accordingly, the Court finds that good cause exists for the
other dates in the Scheduling Order to be modified accordingly.

NOW, THEREFORE, IT IS HEREBY ORDERED that:
The September 11, 2019 Scheduling Order is revised as follows:
(1) Discovery shall proceed pursuant to the following schedule:

a. The parties shall complete document production by April 6, 2020.

b. The parties shall serve requests for admission by May 27, 2020.

 

 

 
 

et
Case 1:17-cv-02041-RJL Document 74 Filed 01/09/20 Page 3 of 3

c. Fact discovery shall close on January 12, 2021.

d. The parties shall exchange expert reports by March 1, 2021.

e. The parties shall complete expert depositions by May 16, 2021.
(2) Schedule for motions for summary judgment:

a. Motions due on June 30, 2021.

b. Oppositions due on August 4, 2021.

c. Replies due on August 25, 2021.

 

SO ORDERED

RICH LEON
United States District Judge

\/7/20

 

 

 
